                                                                                        27-CV-21-9764
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                                              CASE 0:21-cv-01829-DSD-DTS Doc. 1-5 Filed 08/12/21 Page 1 of 1
                                                                                      EXHIBIT E
                                                                                                                                                                 State of Minnesota
                                                                                                                                                                   8/9/2021 4:03 PM
State                   of Min n esota                                                                                        .
                                                                                                                         AffidaVit            .
                                                                                                                                                        of SerVice           .


County of Hennepin

I, Jeremy M. Fuchs, state that on Thursday, July 22, 2021 at 12:45 PM I served the Summons                                                                                       &

Complaint upon Hennepin County, therein named, personally at 300 South 6th Street,
Minneapolis, MN 55415, by handing to and leaving with Aron Haughey, Customer Service
Specialist, an Expressly Authorized agent of said Hennepin County, a true and correct copy
thereof.




I declare under penalty of perjury that everything                                                      I have stated in this document is true
and correct.  Minnesota Statute § 358.116.




                                          Dated: 7/22/2021
                                                                     Jeremy   Mr.   Fuchs, Process      Server




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